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                      UNITED STATES DISTRICT COURT
8                   SOUTHERN DISTRICT OF CALIFORNIA
                  (THE HON. RUTH BERMUDEZ MONTENEGRO)
9

10   UNITED STATES OF AMERICA,                   Case No.: 22cr1011-RBM
11
              Plaintiff,
     v.
12                                               ORDER
13   SERGIO ANGULO,
             Defendant
14

15
           Upon Good Cause Shown,
16

17
           It is ORDERED that the Sentencing Hearing date in this case be continued

18
     from October 28, 2022, at 9:00 a.m. to December 2, 2022, at 9:00 a.m.

19         It is also ORDERED that Mr. Angulo file a signed acknowledgment of
20   this new date within 10 days of the signing of this order.
21
               October 06, 2022
22   Dated: __________________              ______________________________
23                                          The Hon. Ruth Bermudez Montenegro
24
                                            United States District Court Judge

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                                                                     22cr1011-RBM
